(1 of 16), Page 1 of 16       Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 1 of 16




                                                 No. 25-3727
                                         __________________________

                              IN THE UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT
                                      _________________________

                                                NEWSOM, et al.,
                                               Plaintiffs-Appellees,

                                                        v.

                                               TRUMP, et al.,
                                            Defendants-Appellants
                                      _______________________________

                                  On Appeal from the United States District Court
                          for the Northern District of California, No. 3:25-cv-04807-CRB
                                      ________________________________

              [PROPOSED] BRIEF OF AMICUS CURIAE BLUE EAGLE COALITION IN
                        SUPPORT OF DEFENDANTS AND REVERSAL
                             ________________________________

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                                                        1
(2 of 16), Page 2 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 2 of 16




                                          TABLE OF CONTENTS
              INTRODUCTION                                                             4
              FACTS                                                                    4
              ARGUMENT                                                                 6
                 I.       THE ATTORNEYS ASSISTING APPELLEES HAVE
                          IMPLICATED IMPORTANT CONCERNS ABOUT THE U.S.
                          CONSTITUTION AND FEDERAL LAW, UNDER WHICH
                          FEDERAL LAW MUST TAKE PRECEDENCE             6

                 II.      ON THE MERITS, DEFENDANTS ARE ENTITLED TO
                          REVERSAL OF THE T.R.O. AND AN IMMEDIATE DISMISSAL
                          UNDER RULE 12                                  10

              CONCLUSION                                                               15
              CERTIFICATE                                                              16




                                                       2
(3 of 16), Page 3 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 3 of 16




                                         TABLE OF AUTHORITIES
              Cases
              Alabama G. S. R. Co. v. United States, 49 Ct. Cl. 522 (1914)              11
              Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320 (2015)          7
              Geibel v. State Bar (1938) 11 Cal.2d 412, 415                             9
              In the Matter of Gadda (Review Dept. 2002)
              4 Cal. State Bar Ct. Rptr. 416, 420                                       9
              Kansas v. Garcia, 589 U.S. 191 (2020).                                    7
              Nixon v. Fitzgerald, 457 U.S. 731 (1982)                                 10,11
              Presser v. Illinois, 116 U.S. 252 (1886)                                  11
              Statutes
              10 U.S.C. sec. 252                                                        13
              Cal. Bus. and Prof. Code sec. 6068                                        7




                                                         3
(4 of 16), Page 4 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 4 of 16




                                              INTRODUCTION

                    Non-party Blue Eagle Coalition, an unincorporated association (“Amicus”)1,

              is a small, private group of concerned attorneys who, while not necessarily

              agreeing with the President, nevertheless support his position for the reasons stated

              in the proposed amicus brief: (1) when a State-licensed attorney is faced with a

              conflict between State law and Federal law, the attorney should have an obligation

              to favor Federal law under the Supremacy Clause; (2) on the merits, the President

              has the sole discretion to determine whether he needs to call up the National Guard

              and/or use active duty forces to support the Federal government.

                    Consistent with Federal Rule of Appellate Procedure 29(a)(4)(E), the filing

              attorney on behalf of Amicus certifies that no party or counsel for any party has

              authored the Brief, participated in its drafting, or made any monetary contributions

              intended to fund preparation or submission of the Brief.

              //




              1
               The disclosure statement required under FRAP Rule 29.1 has been
              contemporaneously filed, as well as the filing attorney’s oath of admission to this
              Court, which deems him admitted as of the filing under Circuit Rule 46 and
              guidance issued thereunder by this Court.

                                                        4
(5 of 16), Page 5 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 5 of 16




                                                     FACTS

                      As it was impracticable to obtain declarations from either side in the

              District Court and the situation is continuously rapidly developing, all of the facts

              relied on herein are summarized from the parties' public statements on television

              and social media platforms from June 6 to June 11, 2025 when the underlying

              amicus brief was filed in the District Court.

                      According to the Governor, as well as the non-party Mayor of Los

              Angeles, there were “mostly peaceful” “protests” against the Federal government's

              efforts to enforce Federal immigration law. To that end, the Mayor of Los Angeles

              had been holding press conferences in which she stated that the City government

              would not cooperate with Federal immigration enforcement, that the President

              provoked the protests, and that the President should withdraw the National Guard

              from Los Angeles. The Governor echoed these statements while also mounting a

              public relations campaign against the President, in which the Governor claimed the

              President is a “dictator” and that the President is threatening to arrest the Governor.

              Of key note, the Governor claimed that he was never contacted by the President

              and offered an opportunity to call up the National Guard.

                      According to the President, there were violent agitators, insurrectionists,

              and even paid anarchists who were violently attacking law enforcement, destroying

              property, and looting, all while waving foreign flags. The images were plentiful on


                                                        5
(6 of 16), Page 6 of 16        Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 6 of 16




              X and other social media platforms, samples of which were attached to the

              supporting Declaration of Amicus in the District Court. The President also

              produced proof that he called the Governor after midnight on June 7, 2025 -- the

              early morning of the second day of rioting -- and spoke with the Governor for 16

              minutes. The President stated he asked the Governor to “get his ass in gear” and

              handle the unlawful violence. After this call, according to the President, the

              Governor failed to act. Thus, the President issued his June 7, 2025 proclamation

              later that day ordering the deployment of 2,000 National Guardsmen to Los

              Angeles, later supplemented by active duty Marines and more National

              Guardsmen.

                      According to multiple polls, the majority of the public supports the

              President's deployments to Los Angeles. It is against this context and background

              that recourse to the applicable law is critical.

                                                  ARGUMENT

                          I.    THE ATTORNEYS ASSISTING APPELLEES HAVE

                                IMPLICATED IMPORTANT CONCERNS ABOUT THE U.S.

                                CONSTITUTION AND FEDERAL LAW, UNDER WHICH

                                FEDERAL LAW MUST TAKE PRECEDENCE.

                      The Oath taken by all California-admitted attorneys, including the Deputy

              Attorneys General who filed this action, is:



                                                          6
(7 of 16), Page 7 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 7 of 16




              I, (licensee name) solemnly swear (or affirm) that I will support the Constitution of
              the United States and the Constitution of the State of California, and that I will
              faithfully discharge the duties of an attorney and counselor at law to the best of my
              knowledge and ability. As an officer of the court, I will strive to conduct myself at
              all times with dignity, courtesy and integrity.

                      There are additional duties imposed by statute, case law, and ethical rules,

              such as the duties:

                      “To support the Constitution and laws of the United States and of this

              state.” Cal. Bus. and Prof. Code sec. 6068(a).

                      “To counsel or maintain those actions, proceedings, or defenses only as

              appear to him or her legal or just, except the defense of a person charged with a

              public offense.” Cal. Bus. and Prof. Code sec. 6068(c).

                      “Not to encourage either the commencement or the continuance of an

              action or proceeding from any corrupt motive of passion or interest." Cal. Bus. and

              Prof. Code sec. 6068(g)

                      Of critical importance, the Supremacy Clause in the Constitution clearly

              gives Federal law precedence-- and also logically must require a California

              attorney to support Federal law when there is a conflict with State law. See, e.g.,

              the recent cases of Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320

              (2015) and Kansas v. Garcia, 589 U.S. 191 (2020).

                      In Armstrong, the Supreme Court wrote:

                           The Supremacy Clause, Art. VI, cl. 2, reads:



                                                        7
(8 of 16), Page 8 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 8 of 16




                           “This Constitution, and the Laws of the United States which shall be
                           made in Pursuance thereof; and all Treaties made, or which shall be
                           made, under the Authority of the United States, shall be the supreme
                           Law of the Land; and the Judges in every State shall be bound
                           thereby, any Thing in the Constitution or Laws of any State to the
                           Contrary notwithstanding.”

                           It is apparent that this Clause creates a rule of decision: Courts “shall”
                           regard the “Constitution,” and all laws “made in Pursuance thereof,”
                           as “the supreme Law of the Land.” They must not give effect to state
                           laws that conflict with federal laws. [...] It instructs courts what to do
                           when state and federal law clash....

                      This duty to favor Federal law is reinforced in Rule 1.2.1. of the California

              Rules of Professional Conduct, which prohibits advising violations of law; when

              State and the Federal law are in conflict, the attorney is required to advise the

              client of the consequences under both sets of laws, as noted in the official

              comments: “If California law conflicts with federal or tribal law, the lawyer must

              inform the client about related federal or tribal law and policy and under certain

              circumstances may also be required to provide legal advice to the client regarding

              the conflict.” Official Comment 6.

                      From the Supremacy Clause, the applicable state statutes, and the

              applicable case law, it is obvious that a California-admitted attorney has or should

              have a duty to favor Federal law over State law. It does not matter whether the

              attorney agrees or disagrees with the President; the law and public policy impose

              allegiance to the United States before the attorney's State of residence-- just as the

              attorney is a citizen of the United States before a citizen of his or her own State.

                                                         8
(9 of 16), Page 9 of 16      Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 9 of 16




              This is critically important in order to ensure the continued functioning of both the

              State and Federal Government.

                      Indeed, the State Bar of California has discussed similar issues when

              ruling that state-licensed attorneys are subject to discipline for their actions in

              Federal court: “ ‘[i]f an attorney admitted to practice in the courts of this state

              commits acts in reference to federal court litigation which reflect on his integrity

              and fitness to enjoy the rights and privileges of an attorney in the state courts,

              proceedings may be taken against him in the state court.’” In the Matter of Gadda

              (Review Dept. 2002) 4 Cal. State Bar Ct. Rptr. 416, 420, quoting Geibel v. State

              Bar (1938) 11 Cal.2d 412, 415.

                      Even assuming, for the sake of argument, that there is no precedence of

              Federal law for a state-licensed attorney, the attorney still must uphold Federal law

              for the reasons previously stated. Because the attorneys filing this action are

              potentially disregarding their duties to uphold Federal law, the District Court

              should have found a Rule 11 violation and dismissed this action or otherwise

              sanctioned Plaintiffs' counsel. To hold otherwise would permit California

              government attorneys to disregard Federal law and create a double standard in

              which civilian attorneys are held to a stricter set of rules-- because civilian

              attorneys get in trouble for far less serious things than trying to sue the President to

              stop him from enforcing Federal law and protecting Federal facilities and



                                                          9
(10 of 16), Page 10 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 10 of 16




             personnel. The District Court completely overlooked this issue in the brief Amicus

             filed there, not even mentioning the duties of attorneys in the decision.

                                                      II.

               ON THE MERITS, DEFENDANTS ARE ENTITLED TO REVERSAL OF

                   THE T.R.O. AND AN IMMEDIATE DISMISSAL UNDER RULE 12

                      The President is absolutely immune from civil liability for Presidential

             acts. Nixon v. Fitzgerald, 457 U.S. 731 (1982). The separation of powers

             principle gives rise to absolute immunity, which is an important matter of public

             policy. The President has greater protections than governors and other officials,

             who have qualified immunity, since the President holds a unique position in the

             structure of government and has uniquely important duties. The distractions caused

             by defending a civil lawsuit would improperly distract the President from fulfilling

             his executive function, which would undermine the government more broadly.

             There is no cause for concern that the President will be above the law, since

             impeachment and other processes impose checks on his powers. “While the

             separation of powers doctrine does not bar every exercise of jurisdiction over the

             President, a court, before exercising jurisdiction, must balance the constitutional

             weight of the interest to be served against the dangers of intrusion on the authority

             and functions of the Executive Branch.” Nixon at 732.




                                                       10
(11 of 16), Page 11 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 11 of 16




                      It is precisely an intrusion on the Executive Branch that the Plaintiffs have

             made here. The Governor, citing statutory language that clearly is incomplete

             and/or procedural in nature, while also omitting statutory language that clearly

             does apply, is misleading the Court as to his true intentions. The Governor's

             endgame appears to be to keep in California persons who are illegally in the United

             States because California's electoral vote will decrease if those individuals are

             removed en masse from California, due to the apportionment of electoral votes

             based on population. Essentially, if California loses millions of persons without

             legal status, there will be less electoral votes and fewer Congressional

             representatives, which would be harmful to the Governor's political party. This

             obvious self-interest and the promotion of political gain permeates the Governor's

             filings in this action.

                      In any case, the Governor's effort is futile because “the authority to call

             forth the militia has been vested in the President, who is the sole judge of the

             exigency justifying the call. Martin v. Mott, 16 Wheat., 19.” Alabama G. S. R. Co.

             v. United States, 49 Ct. Cl. 522 (1914) (emphasis added). See also Presser v.

             Illinois, 116 U.S. 252 (1886) (discussing Illinois state law on the militia in

             conjunction with the Constitution and Acts of Congress).

                      The discretionary function of the President in deciding whether to call

             forth the National Guard for Federal service is not subject to any form of attempted



                                                        11
(12 of 16), Page 12 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 12 of 16




             mandate or prohibition by the Governor in the Distrcit Court, simply because the

             authority to call forth the militia for Federal service has been exclusively vested in

             the President. The discretionary function of deciding to use force to protect

             Federal facilities and personnel is exactly the type of decision the President is

             supposed to make, and it is not ministerial in the least. As such, the Governor is

             not in a position to second-guess the President's decision to call up the National

             Guard, especially for his own political reasons. The T.R.O. sought by the

             Governor is also an attempt to interfere with core Article II powers and the Federal

             functions of protecting each State from “Invasion” as well as “Domestic Violence,"

             both of which are powers of the President in the Constitution. The fact that the

             statute cited by the Governor procedurally directs orders to be made “through” the

             Governor should indicate that the Governor has a ministerial duty to forward the

             orders-- nothing in the statute offers the Governor any discretion to disobey or

             modify the President's mobilization orders. If the Governor refuses to act, which

             the Governor in this scenario is openly saying he is doing in defiance of the

             Federal government, this implicates the President's authority under other law, such

             as 10 U.S.C. sec. 252. This other statute provides: “Whenever the President

             considers that unlawful obstructions, combinations, or assemblages, or rebellion

             against the authority of the United States, make it impracticable to enforce the laws

             of the United States in any State by the ordinary course of judicial proceedings, he



                                                       12
(13 of 16), Page 13 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 13 of 16




             may call into Federal service such of the militia of any State, and use such of the

             armed forces, as he considers necessary to enforce those laws or to suppress the

             rebellion.” The Complaint here concedes the President stated his findings in the

             proclamation that “[t]o the extent that protests or acts of violence directly inhibit

             the execution of the laws, they constitute a form of rebellion against the authority

             of the Government of the United States.” Thus, even assuming, for the sake of

             argument, that the President did not follow the procedure in the statute the

             Governor cites, and that the procedural failing was not caused by the Governor,

             and that the procedural issuance of orders somehow invalidates the President's

             actions despite finding the existence of rebellion under the law, there are other

             statutes expressly authorizing the President to do exactly the same thing. Section

             252 also should have the same discretion as the statute the proclamation was issued

             under; there is no reason why a later-enacted statute with substantially the same

             language should be treated differently than the earlier-enacted statute (252) that

             clearly states the President is the one who determines whether the conditions exist.

             The complete omission of this additional basis on which to sustain the President's

             decision shows a disingenuous reading of the law by the Governor’s counsel—and

             this issue was also not addressed in the District Court’s decision.

                      There are yet more bases on which to reverse the T.R.O. First, the balance

             of hardships should consider the impact on Federal employees, Federal property,



                                                       13
(14 of 16), Page 14 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 14 of 16




             and civilians/citizens in the event the T.R.O. is granted. If granted, the employees,

             property, and civilians would all be in grave danger due to the Governor's

             unwillingness to provide a safe and secure environment for citizens. As such, the

             Governor has denied citizens their Federal rights and denied citizens equal

             protection under the law-- both additional reasons to uphold the President's

             discretionary decisions. Contrast with the hardship to Plaintiffs if there is no

             T.R.O. There is no hardship to Plaintiffs except for their rightful embarrassment

             and shame, which they deserve for refusing to uphold Federal law and seeking to

             force the President to answer to a committee every time he makes a decision to use

             force. This is contrary to law. Additionally, the District Court cited an attorney

             declaration 29 times in support of the TRO decision, when that declaration did not

             have personal knowledge and consisted primarily of news articles with multiple

             levels of hearsay. News articles and a hearsay declaration should be insufficient to

             restrain the President from use of force and require him to remove those forces.

                      Finally, the District Court’s own decision makes it obvious why the

             District Court does not have the authority he believes he has; the latest filings deny

             the Appellants’ motion to extend the preliminary injunction briefing schedule

             because the evidentiary record was completed on June 9. A court simply cannot

             keep up with Executive Branch decisions because those decisions are based on the

             latest information, not an evidentiary record for trial. This shows exactly why war



                                                       14
(15 of 16), Page 15 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 15 of 16




             is not waged by judicial committee; if it were, the District Court could review any

             military decision or core Article II decision.

                                                CONCLUSION

                      This Court should reverse or vacate the T.R.O. as an interference with the

             President’s functions. Otherwise, there is a risk that the Government will be

             brought to a standstill, unable to protect States or citizens, and the Government

             may start to see decisions from courts that don’t make any sense, such as: “I find

             the President’s deployment of hypersonic missile defenses in Poland was an abuse

             of discretion.” The problem is that judicial review of such a decision is not clearly

             consistent with the national interests when, as a result of a court’s restraint of

             executive action, there is nobody left to protect or save.



             Date: June 16, 2025                     ______________________________
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                                                        15
(16 of 16), Page 16 of 16   Case: 25-3727, 06/16/2025, DktEntry: 24.3, Page 16 of 16




                                    CERTIFICATE OF COMPLIANCE

                    This brief consists of 3,034 words, which is less than the limit.

                    This brief’s type size and typeface comply with FED. R. APP. P. 27(d)

             because this brief has been prepared in proportionally spaced typeface using size

             14, Times New Roman font in Microsoft Word.




             Date: June 16, 2025                     ______________________________
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                                                       16
